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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

JAMES DERSAM,                                                                        PLAINTIFF
ADC #662736

VS.                                  4:20-cv-00816-BRW-JJV

ALISA MAYS,
Food Service Supervisor, Pine Bluff Unit, ADC                                      DEFENDANT


                                              ORDER

         I have reviewed the Recommended Disposition (Doc. No. 15) submitted by United States

Magistrate Judge Joe J. Volpe. No objections have been filed, and the time to do so has passed.

After careful review, I approve and adopt the Recommended Disposition in all respects.

         Accordingly, Defendant’s motion for summary judgment (Doc. No. 11) is GRANTED,

Plaintiff’s retaliation claim against Defendant Mays is DISMISSED without prejudice, and this

case is CLOSED.       I certify an in forma pauperis appeal from this Order would not be taken in

good faith.1

          IT IS SO ORDERED this 21st day of October, 2020.



                                                      ]Billy Roy Wilson ___________
                                                      UNITED STATES DISTRICT JUDGE




1
    28 U.S.C. § 1915(a)(3).
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